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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
                                                  § CASE NO. 6:15-CR-00061-RC
v.                                                §
                                                  §
                                                  §
CRYSTAL BEAM (3),                                 §
                                                  §

         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter is referred to the undersigned United States

Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to

28 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

       On November 14, 2016, this case came before the undersigned magistrate judge for entry

of a guilty plea by the Defendant, Crystal Beam (3), to Count Five of the Superseding

Indictment. Count Five alleges that from on or about November 3, 2014, through on or about

January 19, 2015, the exact dates being unknown to the grand jury, in the Eastern District of

Texas and elsewhere, defendants, Brian Casper and Crystal Beam, did knowingly and willfully

combine, conspire, and agree with others known to the grand jury to employ, use, persuade,

induce, entice, and coerce, a minor, D.H., to engage in sexually explicit conduct for the purpose

of producing any visual depiction of such conduct, knowing that such visual depiction would be

transported or transmitted using any means or facility of interstate or foreign commerce or in or

affecting interstate or foreign commerce, or that such visual depiction was actually transported or

transmitted using any means or facility of interstate or foreign commerce or in or affecting


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interstate or foreign commerce, all in violation of 18 U.S.C. § 2251(a) and (e) – Conspiracy to

Sexually Exploit Children.

         The Defendant entered a plea of guilty to Count Five of the Superseding Indictment into

the record at the hearing. After conducting the proceeding in the form and manner prescribed by

Federal Rule of Criminal Procedure 11, the undersigned finds:

         a.       That the Defendant, after consultation with her attorney, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this case by a United States

Magistrate Judge in the Eastern District of Texas, subject to a final approval and imposition of

sentence by the District Court.

         b.       That the Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal. The

Defendant verified that she understood the terms of the plea agreement, and she acknowledged

that it was her signature on the plea agreement. To the extent the plea agreement contains

recommendations and requests pursuant to FED. R. CRIM. P. 11 (c)(1)(B), the court advised the

Defendant that she has no right to withdraw the plea if the court does not follow the particular

recommendations or requests. To the extent that any or all of the terms of the plea agreement are

pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant that she will have the

opportunity to withdraw her plea of guilty should the court not follow those particular terms of

the plea agreement. 1



1. “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the
extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included
in the judgment.

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         c.       That the Defendant is fully competent and capable of entering an informed plea,

that the Defendant is aware of the nature of the charges and the consequences of the plea, and

that the plea of guilty is made freely, knowingly, and voluntarily.                         Upon addressing the

Defendant personally in open court, the undersigned determines that the Defendant’s plea is

knowing and voluntary and did not result from force, threats or promises (other than the

promises set forth in the plea agreement). See FED. R. CRIM. P. 11(b)(2).

         d.       That the Defendant’s knowing and voluntary plea is supported by an independent

factual basis establishing each of the essential elements of the offense and the Defendant realizes

that her conduct falls within the definition of the crime charged under 18 U.S.C. § 2251(a) and

(e) – Conspiracy to Sexually Exploit Children.

                                       STATEMENT OF REASONS

         As factual support for the Defendant’s guilty plea, the Government presented a factual

basis. See Factual Basis. In support, the Government would prove that the Defendant is the

same person charged in the Superseding Indictment, and that the events described in the

Superseding Indictment occurred in the Eastern District of Texas. The Government would also

have proven, beyond a reasonable doubt, each and every essential element of the offense as

alleged in Count Five of the Superseding Indictment through the testimony of witnesses,

including expert witnesses, and admissible exhibits. In support of the Defendant’s plea, the

undersigned incorporates the proffer of evidence described in detail in the factual basis filed in



(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in
Rule 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in
camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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support of the plea agreement, and the Defendant’s admissions made in open court in response to

the undersigned’s further inquiry into the factual basis.

       The Defendant agreed with and stipulated to the evidence presented in the factual basis.

Counsel for the Defendant and the Government attested to the Defendant’s competency and

capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

by the Government and personally testified that she was entering the guilty plea knowingly,

freely and voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count Five of the Superseding Indictment. Accordingly, it is

further recommended that the District Court finally adjudge the Defendant, Crystal Beam (3),

guilty of the charged offense under 18 U.S.C. § 2251(a) and (e) – Conspiracy to Sexually Exploit

Children.

       The District Court should defer its decision to accept or reject the plea agreement until

there has been an opportunity to review the presentence report. If the plea agreement is rejected

and the Defendant still persists in his guilty plea, the disposition of the case may be less

favorable to the Defendant than that contemplated by the plea agreement. The Defendant is

ordered to report to the United States Probation Department for the preparation of a presentence

report. The Defendant has the right to allocute before the District Court before imposition of

sentence.




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                                          OBJECTIONS

       Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file

objections to this report and recommendation. Objections to this report must: (1) be in writing,

(2) specifically identify those findings or recommendations to which the party objects, and (3) be

served and filed within fourteen (14) days after being served with a copy of this report, and (4)

no more than eight (8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); FED. R. CIV. P.

72(b)(2); Local Rule CV-72(c). A party who objects to this report is entitled to a de novo

determination by the United States District Judge of those proposed findings and

recommendations to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1)

(2009); FED R. CIV. P. 72(b)(3).

       A party’s failure to file specific, written objections to the proposed findings of fact and

conclusions of law contained in this report, within fourteen (14) days of being served with a copy

of this report, bars that party from: (1) entitlement to de novo review by the United States District

Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275,

276–77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such

findings of fact and conclusions of law accepted by the United States District Judge, see

Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).


          So ORDERED and SIGNED this 14th day of November, 2016.




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